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IN THE UNITED STATES DISTRICT COURT FOR T
EASTERN DISTRICT OF VIRGINIA

Alexandria Division

 

UNITED STATES OF AMERICA )
) Case No. 1:23-CR-65
v. )
)
JAMES GORDON MEEK, )
)
Defendant. )
)
STATEMENT OF FACTS

 

The United States and the Defendant, JAMES GORDON MEEK, agree that at trial, the
United States would have proven the following facts beyond a reasonable doubt with admissible
and credible evidence:

1. Between at least February 2020 and up to and including April 2022, the defendant,
James Gordon Meek, resided in Arlington County, Virginia, within the Eastern District of Virginia.

2. On or about February 24, 2020, the defendant flew to Charlotte, North Carolina,
and stayed in the vicinity of Rock Hill, South Carolina until on or about February 28, 2020. He
then took a return flight from Charlotte, North Carolina, to Ronald Reagan Washington National
Airport on February 28, 2020, within the Eastern District of Virginia.

3. On or about February 26-27, 2020, while temporarily located in or around Rock
Hill, South Carolina, the defendant used his iPhone 8 to engage in a series of messages with two
different individuals utilizing “Kik,” an internet-based messaging application the defendant had
installed on his iPhone 8.

4, During the course of these conversations, the defendant sent and received sexually

explicit images and videos depicting minors engaged in sexually explicit conduct. Some of the
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images and videos depicted prepubescent minors and minors under the age of 12. For example,
the defendant sent both individuals with whom he was communicating a video lasting
approximately one minute and fourteen seconds, depicting an erect penis penetrating the anus of a
female infant.

5. The Kik conversations surrounding the defendant’s distribution and receipt of the
messages demonstrate that the defendant knew that the images and videos he sent and received
depicted minors engaged in sexually explicit conduct, and that some of the of the images and
videos depicted prepubescent minors and minors under the age of 12. For example, shortly after
sending the video referenced above, the defendant texted “I wish I could lick up all that cum all
over that little baby that he just raped.”

6. On or about February 28, 2020, the defendant traveled by plane in interstate
commerce from Rock Hill, South Carolina, to Arlington, Virginia, while carrying his iPhone 8.

7. When the defendant returned to the Eastern District of Virginia on February 28,
2020, the defendant’s iPhone 8 contained the visual depictions of minors engaged in sexually
explicit conduct within the Kik chat application. These images were stored on the phone, both in
the Kik application and in folders associated with Kik on the iPhone 8.

8. The defendant knew that the visual depictions were contained on his iPhone 8 when
he transported it from Rock Hill to Arlington, and that the depictions portrayed minors engaged in
sexually explicit conduct.

9. On or about April 27, 2022, in Arlington, Virginia, within the Eastern District of
Virginia, the defendant knowingly possessed the following electronic devices: iPhone 8 S/N

FFPVNENQJC6C, iPhone 11 S/N F4GCT22TN72Y, iPhone 5C S/N FFMN64SXFNDD, iPhone
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6 S/N DNPNX8F4G5MG, Apple Laptop S/N WQ028CSZATM, and External Hard Drive
identifying number 18037244-11. These devices were all manufactured outside of Virginia.

10. Each of the aforementioned devices contained multiple depictions of minors
engaged in sexually explicit conduct, including multiple images or videos in which the minors
depicted were prepubescent and under the age of 12 years. These devices contained dozens of
images and at least eight videos depicting children engaged in sexually explicit conduct. For
example, one image depicted a nude prepubescent boy with a strap around his face with a device
forcing his mouth open; his hands are bound to his feet. The boy is wearing a “Santa Claus” style
hat with a bow pictured around his waist above his penis.

11. The defendant knew that his electronic devices contained such depictions, that the
individuals depicted were minors, and that at least some of the individuals depicted were
prepubescent and minors under the age of 12.

12. This statement of facts includes those facts necessary to support the plea agreement
between the defendant and the United States. It does not include each and every fact known to
the defendant or to the United States, and it is not intended to be a full enumeration of all of the
facts surrounding the defendant’s case.

13. The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.

Respectfully submitted,

Jessica D. Aber
United States Attorney

/s/
Zoe Bedell
Assistant United States Attorney
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Whitney Kramer

Special Assistant United States Attorney (LT)
United States Attorney’s Office

Eastern District of Virginia

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After consulting with my attorney and pursuant to the plea agreement entered into this day
between the defendant, James Gordon Meek, and the United States, I hereby stipulate that the

above Statement of Facts is true and accurate, and that had the matter proceeded to trial, the United

   

States would have proved the same beyond a reasOnable do

I am Eugene Gorokhov, defendant’s attorney. I have carefully reviewed the above

Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is an

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Eugene ov, Esq.
At for James Gordon Meek

informed and voluntary one.
